

People v King (2022 NY Slip Op 05711)





People v King


2022 NY Slip Op 05711


Decided on October 12, 2022


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 12, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
LINDA CHRISTOPHER
WILLIAM G. FORD
JANICE A. TAYLOR, JJ.


2019-02548
 (Ind. No. 159/16)

[*1]The People of the State of New York, respondent,
vEugene King, appellant.


Patricia Pazner, New York, NY (Lynn W. L. Fahey of counsel), for appellant.
Michael E. McMahon, District Attorney, Staten Island, NY (Morrie I. Kleinbart and George D. Adames of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Richmond County (William E. Garnett, J.), imposed April 24, 2018, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The sentence imposed was not excessive (see People v Suitte , 90 AD2d 80).
DILLON, J.P., CHRISTOPHER, FORD and TAYLOR, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








